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    Fill in this information to identify the case

    United States Bankruptcy Court for the:

    Southern                    District of   New York
                                               (State)
    Case number (If known):                                     Chapter 11

                                                                                                                                              ☐ Check if this is an
                                                                                                                                                  amended filing


   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/19

   If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                            Fairway Group Holdings Corp.


   2.   All other names debtor used              See Schedule 1
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)              XX-XXXXXXX


   4.   Debtor’s         Principal place of business                                                   Mailing address, if different from principal place of business
        address
                         2284                    12th Avenue
                         Number                  Street                                                Number                        Street



                         P.O. Box                                                                      P.O. Box


                         New York                New York           10027
                         City                    State              ZIP Code                           City                          State           ZIP Code

                                                                                                       Location of principal assets, if different from principal
                                                                                                       place of business
                         New York County
                         County
                                                                                                       Number                        Street




                                                                                                       City                          State           ZIP Code



   5.   Debtor’s website (URL)                  www.fairwaymarket.com


   6.   Type of debtor                          ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                ☐ Partnership (excluding LLP)
                                                ☐ Other. Specify:




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                                            A. Check one:
 7.      Describe debtor’s business
                                            ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☒   None of the above


                                            B. Check all that apply:

                                            ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4451 – Grocery Stores

                                            Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the             ☐ Chapter 7
         debtor filing?                     ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
                                                              ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment
                                                                on 4/01/22 and every 3 years after that).
                                                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return or
                                                                if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                1116(1)(B).
                                                              ☐ A plan is being filed with this petition.
                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                1934 Rule 12b-2.
                                            ☐ Chapter 12


 9.      Were prior bankruptcy cases        ☐ No
         filed by or against the debtor
                                                                     Southern District of New York
         within the last 8 years?
                                            ☒ Yes        District    – See Schedule 2                    When      May 2, 2016     Case number   16-11241 (MEW)
         If more than 2 cases, attach a                                                                             MM/ DD/ YYYY
         separate list.
                                                         District                                        When                      Case number
                                                                                                                   MM / DD/ YYYY




 10. Are any bankruptcy cases               ☐ No
     pending or being filed by a
                                            ☒ Yes         Debtor        See Schedule 3                                     Relationship   See Schedule 3
     business partner or an
     affiliate of the debtor?                             District      Southern District of New York                      When           See Schedule 3
                                                                                                                                          MM / DD/ YYYY
         List all cases. If more than 1,                  Case number, if known
         attach a separate list.


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                                                                                              Case number (if known)Main Document
                Name                                                          Pg 3 of 22

   11. Why is the case filed in this          Check all that apply:
       district?
                                              ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                              ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                            ☒ No
     possession of any real
     property or personal property          ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
     attention?                                        ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                             health or safety.
                                                             What is the hazard?
                                                       ☐     It needs to be physically secured or protected from the weather.
                                                       ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                             without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                             securities-related assets or other options).


                                                        ☐ Other


                                                       Where is the property?
                                                                                          Number                 Street


                                                                                          City                              State               ZIP Code
                                                       Is the property insured?
                                                                                           ☐ No
                                                                                          ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                Statistical and administrative information



   13. Debtor’s estimation of           Check one:
       available funds                  ☒      Funds will be available for distribution to unsecured creditors.
                                        ☐      After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of              
                                        ☐      1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
       creditors                        ☐      50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis       ☐      100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
         with all affiliated debtors)   ☐      200-999

   15. Estimated assets                 ☐      $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis       ☐      $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
         with all affiliated debtors)   ☐      $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                         ☐       $50,000,001-$100 million
                                        ☐      $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                         ☒       $100,000,001-$500 million

   16. Estimated liabilities            ☐      $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis       ☐      $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
         with all affiliated debtors)   ☐      $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                         ☐       $50,000,001-$100 million
                                        ☐      $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                         ☒       $100,000,001-$500 million

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                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of             petition.
         debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true
                                                  and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on January 23, 2020
                                                                    MM / DD / YYYY



                                                       /s/ Abel Porter                                             Abel Porter
                                                       Signature of authorized representative of debtor            Printed name

                                                       Chief Executive Officer
                                                       Title




     18. Signature of attorney                     /s/ Sunny Singh                                                Date   January 23, 2020
                                                  Signature of attorney for debtor                                      MM / DD / YYYY

                                                  Sunny Singh
                                                    Printed Name
                                             
                                                  Weil, Gotshal & Manges LLP
                                                    Firm Name
                                             
                                                  767 Fifth Avenue
                                                    Number              Street
                                             
                                                  New York                                            New York                    10153
                                                    City                                                State                       ZIP Code
                                             

                                                  (212) 310-8000                                      sunny.singh@weil.com
                                                    Contact phone                                       Email address
                                             

                                                  4456349                                             New York
                                                    Bar Number                                          State
                                             




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                                                Schedule 1
                               All other names Debtor used in the last 8 years
                      Fairway
                      Fairway Market
                      Fairway - Like No Other Market
                      Fairway Como Ningún Otro Mercado
                      The World’s Greatest Food Store
                      The World’s Greatest Wines & Spirits Store
                      Fairway Café
                      Fairway Café & Steakhouse
                      Fairway Wines & Spirits
                      Fairway Wines
                      Sur la Route
                      Sur la Route Café by Fairway Market
                      The Cooking Place at Fairway Market
                      FWM Fresh
                      Fairway Nanuet LLC




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                                                     Schedule 2
                    Prior Bankruptcy Cases filed by the Debtor within the Last 8 Years
              On May 2, 2016, each of the entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), filed for relief under chapter 11 of title 11 of the
United States Code in the United States Bankruptcy Court for the Southern District of New
York, and their chapter 11 cases were jointly administered under Case No. 16-11241 (MEW).
Fairway Group Holdings Corp.

                                 NAME OF DEBTOR                          CASE NUMBER

              Fairway Group Holdings Corp.                               16-11241 (MEW)

              Fairway Group Acquisition Company                          16-11242 (MEW)

              Fairway Bakery LLC                                         16-11243 (MEW)

              Fairway Broadway LLC                                       16-11244 (MEW)

              Fairway Chelsea LLC                                        16-11245 (MEW)

              Fairway Construction Group, LLC                            16-11246 (MEW)

              Fairway Douglaston LLC                                     16-11247 (MEW)

              Fairway East 86th Street LLC                               16-11248 (MEW)

              Fairway eCommerce LLC                                      16-11249 (MEW)

              Fairway Georgetowne LLC                                    16-11250 (MEW)

              Fairway Greenwich Street LLC                               16-11251 (MEW)

              Fairway Group Central Services LLC                         16-11252 (MEW)

              Fairway Group Plainview LLC                                16-11253 (MEW)

              Fairway Hudson Yards LLC                                   16-11254 (MEW)

              Fairway Kips Bay LLC                                       16-11255 (MEW)

              Fairway Nanuet LLC                                         16-11256 (MEW)

              Fairway Paramus LLC                                        16-11257 (MEW)

              Fairway Pelham LLC                                         16-11258 (MEW)

              Fairway Pelham Wines & Spirits LLC                         16-11259 (MEW)

              Fairway Red Hook LLC                                       16-11260 (MEW)

              Fairway Stamford LLC                                       16-11261 (MEW)

              Fairway Stamford Wines & Spirits LLC                       16-11262 (MEW)

              Fairway Staten Island LLC                                  16-11263 (MEW)

              Fairway Uptown LLC                                         16-11264 (MEW)

              Fairway Westbury LLC                                       16-11265 (MEW)

              Fairway Woodland Park LLC                                  16-11266 (MEW)




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                                                    Schedule 3
              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
                On the date hereof, each of the affiliated entities listed below, including the debtor
in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
entities listed below be consolidated for procedural purposes only and jointly administered,
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
assigned to the chapter 11 case of Fairway Group Holdings Corp.

                                    COMPANY                               CASE NUMBER

       Fairway Group Holdings Corp.                                      20-________ (   )
       Fairway Group Acquisition Company                                 20-________ (   )
       Fairway Bakery LLC                                                20-________ (   )
       Fairway Broadway LLC                                              20-________ (   )
       Fairway Chelsea LLC                                               20-________ (   )
       Fairway Construction Group, LLC                                   20-________ (   )
       Fairway Douglaston LLC                                            20-________ (   )
       Fairway East 86th Street LLC                                      20-________ (   )
       Fairway eCommerce LLC                                             20-________ (   )
       Fairway Georgetowne LLC                                           20-________ (   )
       Fairway Greenwich Street LLC                                      20-________ (   )
       Fairway Group Central Services LLC                                20-________ (   )
       Fairway Group Plainview LLC                                       20-________ (   )
       Fairway Hudson Yards LLC                                          20-________ (   )
       Fairway Kips Bay LLC                                              20-________ (   )
       FN Store LLC                                                      20-________ (   )
       Fairway Paramus LLC                                               20-________ (   )
       Fairway Pelham LLC                                                20-________ (   )
       Fairway Pelham Wines & Spirits LLC                                20-________ (   )
       Fairway Red Hook LLC                                              20-________ (   )
       Fairway Stamford LLC                                              20-________ (   )
       Fairway Stamford Wines & Spirits LLC                              20-________ (   )
       Fairway Staten Island LLC                                         20-________ (   )
       Fairway Uptown LLC                                                20-________ (   )
       Fairway Westbury LLC                                              20-________ (   )
       Fairway Woodland Park LLC                                         20-________ (   )




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                             FAIRWAY GROUP HOLDINGS CORP.

                       CERTIFICATE OF CORPORATE SECRETARY

                                        January 23, 2020

     I, Abel Porter, being a duly elected and authorized officer of each of the following (each a
“Company” and, collectively, the “Companies”):

   1. Fairway Group Holdings Corp.

   2. Fairway Group Acquisition Corp.

   3. Fairway Bakery LLC

   4. Fairway Broadway LLC

   5. Fairway Chelsea LLC

   6. Fairway Construction Group, LLC

   7. Fairway Douglastown LLC

   8. Fairway East 86th Street LLC

   9. Fairway eCommerce LLC

   10. Fairway Georgetown LLC

   11. Fairway Greenwich LLC

   12. Fairway Group Central Services LLC

   13. Fairway Group Plainview LLC

   14. Fairway Hudson Yards LLC

   15. Fairway Kips Bay LLC

   16. FN Store LLC

   17. Fairway Paramus LLC

   18. Fairway Pelham LLC

   19. Fairway Pelham Wines & Spirits LLC

   20. Fairway Red Hook LLC

   21. Fairway Stamford LLC
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Debtor: Fairway Group Holdings Corp.                                 Case number (if known)


     22. Fairway Stamford Wines & Spirits LLC

     23. Fairway Staten Island LLC

     24. Fairway Uptown LLC

     25. Fairway Westbury LLC

     26. Fairway Woodland Park LLC

hereby certify as follows:

     1. I am a duly qualified and elected officer of each of the Companies and, as such, I am familiar with
        the facts herein certified and I am duly authorized to certify the same on behalf of the Companies;

     2. Attached hereto is a true, correct, and complete copy of the resolutions of the board of directors,
        board of managers, sole member, or sole manager, as the case may be, of each of the Companies,
        duly adopted and approved on February 22, 2020, in accordance with each Company’s bylaws or
        operating agreement; and

     3. Such resolutions have not been amended, altered, annulled, rescinded, modified, or revoked since
        their adoption and remain in full force and effect as of the date hereof. There exist no subsequent
        resolutions relating to the matters set forth in the resolutions attached here.

       IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 23th day of
January, 2020.

                                                                                    /s/ Abel Porter
                                                                                    Name: Abel Porter
                                                                                    Title: Chief Executive Officer




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims   page 2
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                                           RESOLUTIONS OF THE
                                        SPECIAL COMMITTEE OF THE
                                          BOARD OF DIRECTORS OF
                                      FAIRWAY GROUP HOLDINGS CORP.

                   Effective as of this 22nd day of January, 2020, pursuant to a special meeting on the same
  date, the members of the special committee (the “Committee”) of the board of directors (the “Board”) of
  Fairway Group Holdings Corp., a Delaware corporation (the “Company”), authorized to exercise the full
  powers, authorities, duties, rights, and responsibilities of the Board with respect to matters relating to, or
  arising from, the consideration, evaluation, negotiation, authorization, or oversight of strategic
  alternatives or transactions available to the Company and any transactions resulting therefrom, upon a
  motion duly made and seconded and acting pursuant to the Company’s organizational documents and
  resolutions appointing the Committee, took the following actions on behalf of the Company and each of
  the Subsidiaries (as defined below), and adopted the following resolutions:

                    WHEREAS, the Committee has reviewed and had the opportunity to ask questions about
  the materials presented by the management and the legal and financial advisors of the Company regarding
  the liabilities and liquidity of the Company, the strategic alternatives available to it and the impact of the
  foregoing on the Company’s businesses;

                   WHEREAS, the Committee has had the opportunity to consult with the management and
  the legal and financial advisors of the Company to fully consider each of the strategic alternatives
  available to the Company; and

                       WHEREAS, the Committee desires to approve the following resolutions.

 I.       Commencement of Chapter 11 Case

                       NOW, THEREFORE, BE IT RESOLVED, that the Committee has determined, after
      consultation with the management and the legal and financial advisors of the Company, that it is desirable
      and in the best interests of the Company, its creditors, and other parties in interest that a petition be filed
      by the Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code
      (the “Bankruptcy Code”); and be it further

                       RESOLVED, that any officer of the Company (each, an “Authorized Officer”) in each
      case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to execute and
      file in the name and on behalf of the Company, and under its corporate seal or otherwise, all petitions,
      schedules, motions, lists, applications, pleadings, and other papers in the United States Bankruptcy Court
      for the Southern District of New York (the “Bankruptcy Court”), and, in connection therewith, to
      employ and retain all assistance by legal counsel, accountants, financial advisors, investment bankers and
      other professionals, and to take and perform any and all further acts and deeds which such Authorized
      Officer deems necessary, proper, or desirable in connection with the Company’s chapter 11 case (the
      “Chapter 11 Case”), including, without limitation, negotiating, executing, delivering and performing any
      and all documents, agreements, certificates and/or instruments in connection with the transactions and
      professional retentions set forth in this resolution, with a view to the successful prosecution of the Chapter
      11 Case; and be it further

II.       Debtor-in-Possession Financing

                   RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of the
      Company to engage in, and the Company will obtain benefits from, the lending transactions or the
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guarantee of the lending transactions, as applicable, under that certain debtor-in-possession credit facility
in an aggregate principal amount of up to $25,000,000 plus the Roll-up Amount (as defined below),
consisting of (I) a new money facility comprised of (x) $20,000,000 in an aggregate maximum principal
amount of New Money DIP Loans and (y) $5,000,000 in an aggregate maximum principal amount of
New Money Delayed Draw DIP Loans, and (II) a roll-up facility in an aggregate principal amount equal
to each Lender’s (as defined below) “L/C Loans” and “New Term Loans” under the Prepetition Credit
Agreement held as of the Petition Date (the “Roll-up Amount”), in each case to be evidenced by that
certain Debtor-in-Possession Credit Agreement, to be entered into by and among the Company, as
borrower, Fairway Group Holdings Corp. (“Fairway Holdings”), the lenders from time to time party
thereto (the “Lenders”), and Ankura Trust Company, LLC, as administrative agent (in such capacity,
including any successor thereto, the “Administrative Agent”) and as collateral agent (in such capacity,
including any successor thereto, the “Collateral Agent”) for the Lenders (together with the Exhibits and
Schedules annexed thereto, the “DIP Credit Agreement”) (capitalized terms used in this section with
respect to debtor-in-possession financing and not otherwise defined herein shall have the meanings
ascribed to such terms in the DIP Credit Agreement); in each case subject to approval by the Bankruptcy
Court, which is necessary and appropriate to the conduct, promotion and attainment of the business of the
Company (the “Debtor-in-Possession Financing”); and be it further

                 RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit
Agreement, including the use of proceeds to provide liquidity for the Company throughout the Chapter 11
Case, substantially in the form presented to each Governing Body (ii) the Guarantee and Collateral
Agreement, to be entered into by and among each of the Companies and the Collateral Agent (the
“Guarantee and Collateral Agreement”) and (iii) any and all of the other agreements, including,
without limitation, any guarantee and security agreement, letters, certificates, documents and instruments
authorized, executed, delivered, reaffirmed, verified and/or filed in connection with the Debtor-in-
Possession Financing (together with the DIP Credit Agreement and the Guarantee and Collateral
Agreement, collectively, the “DIP Financing Documents”) and the Company’s performance of its
obligations thereunder, including the borrowings and guarantees, as applicable, contemplated thereunder,
are hereby, in all respects confirmed, ratified and approved; and be it further

                 RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to cause the Company to negotiate and approve the
terms, provisions of and performance of, and to prepare, execute and deliver the DIP Financing
Documents to which it is a party, in the name and on behalf of the Company under its corporate seal or
otherwise, and such other documents, agreements, instruments and certificates as may be required by the
Agent or required by the DIP Credit Agreement and any other DIP Financing Documents; and be it
further

                  RESOLVED, that the Company be, and hereby is, authorized, empowered, and directed
to incur or guarantee, as applicable, the Obligations and to undertake any and all related transactions
contemplated under the DIP Financing Documents including the granting of security thereunder
(collectively, the “DIP Financing Transactions”); and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed to grant security interests in, and liens on, any and all property of the Company as collateral
pursuant to the DIP Financing Documents to secure all of the obligations and liabilities of the Company
thereunder to the Lenders and the Agent, and to authorize, execute, verify, file and/or deliver to the
Agent, on behalf of the Company, all agreements, documents and instruments required by the Lenders in
connection with the foregoing; and be it further
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                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to take all such further actions including, without
   limitation, to pay all fees and expenses, in accordance with the terms of the DIP Financing Documents,
   which shall, in such Authorized Officer’s sole judgment, be necessary, proper or advisable to perform the
   Company’s obligations under or in connection with the DIP Financing Documents and the transactions
   contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to execute and deliver any amendments,
   supplements, modifications, renewals, replacements, consolidations, substitutions and extensions of the
   DIP Credit Agreement and/or any of the DIP Financing Documents which shall, in such Authorized
   Officer’s sole judgment, be necessary, proper or advisable; and be it further

III.      Asset Purchase Agreement

                   RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of the
   Company that the Company and certain of its direct and indirect wholly-owned subsidiaries enter into,
   and the Company will obtain benefits from, the transactions contemplated by an Asset Purchase
   Agreement (the “APA”) with Village Super Markets, Inc., substantially in the form attached hereto as
   Exhibit A, and with such changes thereto as the Authorized Officer executing the same shall approve, and
   any other agreements, consents, certificates, amendments, assignments, and instruments in connection
   therewith (together with the APA, the “Purchase Documents”), in each case subject to approval by the
   Bankruptcy Court; and be it further

                    RESOLVED, that the form, terms and provisions of each of the Purchase Documents
   and the Company’s performance of its obligations thereunder, are hereby, in all respects confirmed,
   ratified and approved; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to cause the Company to negotiate and approve the
   terms, provisions of and performance of, and to prepare, execute and deliver the Purchase Documents, in
   the name and on behalf of the Company under its corporate seal or otherwise, and such other documents,
   agreements, instruments and certificates as such Authorized Officer executing the same considers
   necessary, appropriate, proper, or desirable to effectuate the transactions contemplated by the Purchase
   Documents; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to take all such further actions including, without
   limitation, to pay all fees and expenses, in accordance with the terms of the Purchase Documents, which
   shall, in such Authorized Officer’s sole judgment, be necessary, proper or advisable to perform the
   Company’s obligations under or in connection with the Purchase Documents and the transactions
   contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                   RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to execute and deliver any amendments,
   supplements, modifications, renewals, replacements, consolidations, substitutions and extensions of the
   Purchase Documents which shall, in such Authorized Officer’s sole judgment, be necessary, proper or
   advisable; and be it further
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IV.       Retention of Advisors

                RESOLVED, that the firm of Peter J. Solomon, located at 1345, 6th Avenue, New York,
  NY 10105, is hereby retained as financial advisor for the Company in the Chapter 11 Case, subject to
  Bankruptcy Court approval; and be it further

                  RESOLVED, that the firm of Mackinac Partners, LLC, located at 74 W. Long Lake
  #205, Bloomfield Hills, MI 48304, is hereby retained as financial advisor for the Company in the Chapter
  11 Case, subject to Bankruptcy Court approval; and be it further

                  RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
  Avenue, New York, NY 10153, is hereby retained as attorneys for the Company in the Chapter 11 Case,
  subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that the firm of Omni Agent Solutions, located at 1120 Avenue of the
  Americas, 4th Floor, New York, NY 10036, is hereby retained as claims, noticing and solicitation agent
  for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

V.        Restructuring Support Agreement

                     RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of the
      Company to enter into a Restructuring Support Agreement (together with the term sheet annexed thereto,
      the “Restructuring Support Agreement”) on terms and conditions in the form of Exhibit B; and be it
      further

                      RESOLVED, that the form, terms, and provisions of the Restructuring Support
      Agreement, and the execution, delivery and performance thereof and the consummation of the
      transactions contemplated thereunder by the Company are hereby authorized, approved and declared
      advisable and in the best interest of the Company, with such changes therein and additions thereto as the
      executive officer of the Company executing the same may in his discretion deem necessary or
      appropriate, the execution of the Restructuring Support Agreement to be conclusive evidence of the
      approval thereof; and be it further

                        RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
      directed, in the name and on behalf of the Company, to cause the Company to enter into, execute, deliver,
      certify, file and/or record, and perform, the Restructuring Support Agreement substantially in the form
      presented to the Committee, and such other documents, agreements, instruments and certificates as may
      be required by the Restructuring Support Agreement; and be it further

VI.       Approval of Actions of Subsidiary

                       RESOLVED, that the Company, as the sole stockholder of Fairway Acquisition, hereby
      ratifies, approves, confirms and adopts all actions taken by Fairway Acquisition, including those actions
      taken with respect to Fairway Bakery, LLC, Fairway Broadway LLC, Fairway Construction Group, LLC.,
      Fairway eCommerce LLC, Fairway Douglaston LLC, Fairway East 86th Street LLC, Fairway Group
      Central Services LLC, Fairway Group Plainview LLC, Fairway Paramus LLC, Fairway Pelham LLC,
      Fairway Pelham Wines & Spirits LLC, Fairway Red Hook LLC, Fairway Stamford LLC, Fairway
      Stamford Wines & Spirits LLC, Fairway Uptown LLC, Fairway Woodland Park LLC, Fairway Kips Bay
      LLC, Fairway Westbury LLC, FN Store LLC, Fairway Chelsea LLC, Fairway Lake Grove LLC, Fairway
      Greenwich Street LLC, Fairway Hudson Yards LLC, Fairway Staten Island LLC and Fairway
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   Georgetowne LLC (collectively, the “Subsidiaries”) in connection with the Purchase Documents and the
   transactions contemplated thereby; and be it further

                   RESOLVED, that the Company, in its capacity as the sole stockholder of Fairway
   Acquisition, be, and it hereby is, authorized and directed to negotiate, prepare, execute, deliver and
   perform all such other agreements, documents, certificates and instruments, and take all actions that the
   officer or officers of the Company may in his or their discretion deem necessary or appropriate in
   connection with the DIP Financing Documents, the Purchase Documents, any deposit account control
   agreements in connection therewith and the transactions contemplated thereby; and be it further

                     RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to cause the Company to negotiate, prepare, execute,
   deliver and perform all such other agreements, documents, certificates and instruments, and take all
   actions that the officer or officers may in his or their discretion deem necessary or appropriate in order to
   carry out the full intent and purposes of the foregoing resolutions, the negotiation, preparation, execution,
   delivery or performance thereby such Authorized Officer or Officers to be conclusive evidence of the
   approval thereof of the Company; and be it further

VII.      General Authorization and Ratification

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
   directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
   deliver, certify, file and/or record, and perform, such agreements, instruments, motions, affidavits,
   applications for approvals or rulings of governmental or regulatory authorities, certificates, or other
   documents, and to take such other actions that in the judgment of the Authorized Officer shall be or
   become necessary, proper, or desirable in connection with the Chapter 11 Case; and be it further

                    RESOLVED, that any and all past actions heretofore taken by any Authorized Officer
   or the directors of the Company in the name and on behalf of the Company in furtherance of any or all
   of the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in all
   respects.
               20-10161-jlg              Doc 1    Filed 01/23/20              Entered 01/23/20 00:51:39                        Main Document
                                                                             Pg 15 of 22
Fill in this information to identify the case:

Debtor name: Fairway Group Holdings Corp.
United States Bankruptcy Court for the Southern District of New York
                                              (State)
Case number (If known):                                                                                                                        ☐ Check if this is an
                                                                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders                                                                                                                            12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.
 Name of creditor and complete mailing        Name, telephone number, and email            Nature of the      Indicate if   Amount of unsecured claim
 address, including zip code                  address of creditor contact                    claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                              example,       contingent,    unsecured claim amount. If claim is partially
                                                                                            trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                            bank loans,      or disputed    for value of collateral or setoff to calculate
                                                                                           professional                     unsecured claim.
                                                                                           services, and
                                                                                           government
                                                                                             contracts)
                                                                                                                             Total claim, if    Deduction for      Unsecured
                                                                                                                               partially           value of          claim
                                                                                                                               secured           collateral or
                                                                                                                                                    setoff
 1.    United Natural Foods, Inc.             Attn.: Lisa Franchette
       d/b/a Cornuco                          Phone: (603) 256‐3000
                                                                                               Trade
       Attn.: Lisa Franchette                 E‐mail: lfranchette@unfi.com                                                                                        $1,838,914.71
                                                                                              Vendor
       313 Iron Horse Way
       Providence, Rhode Island 02908
 2.    Douglaston Shopping Center Owner LLC   Attn.: John Birnbaum
       f/k/a AAC Management Corp.             Phone: (646) 214‐0271
       Attn.: John Birnbaum                            (212) 213‐4444 (Ext. 211)               Rent           Disputed                                             $961,244.09
       150 East 58th Street, 39th Floor       E‐mail: jbirnbaum@aacrealty.com
       New York, New York 10155                       lostrow@aacrealty.com
 3.    West Side Foods, Inc.                  Attn.: Tom Ryan
       Attn.: Tom Ryan                                Tuttie Langston
              Tuttie Langston                 Phone: (917) 417‐8242 / (718) 842‐8500           Trade
                                                                                                                                                                   $957,644.91
       355 Food Center Drive                  E‐mail: tryan@westsidefoodsinc.com              Vendor
       Hunts Point Co‐Op Market, Building E            tuttie@westsidefoodsinc.com
       Bronx, New York 10474
 4.    UFCW Local 1500 Welfare Fund           Attn.: Robert Newell
       Attn.: Robert Newell                   Phone: (800) 522‐0456                          Union ‐
       425 Merrick Avenue                     E‐mail: rnewell@ufcw1500.org                                                                                         $753,742.66
                                                                                             Benefits
       Westbury, New York 11590

 5.    UFCW Local 1500 Pension Plan           Attn.: Robert Newell
       Attn.: Robert Newell                   Phone: (800) 522‐0456                          Union ‐
       425 Merrick Avenue                     E‐mail: rnewell@ufcw1500.org                                                                                         $711,357.78
                                                                                             Benefits
       Westbury, New York 11590

 6.    Maplebear, Inc. d/b/a Instacart        Attn.: Aarron Levitan
       Attn.: Aarron Levitan                         Andrew Nodes
                                                                                               Trade
              Andrew Nodes                    Phone: (847) 363‐1985 / (202) 309‐2189                                                                               $697,954.10
                                                                                              Vendor
       50 Beale Street, 6th Floor             E‐mail: aaron.levitan@instacart.com
       San Francisco, California 94105                andrew.nodes@instacart.com
 7.    Albert’s Organics Inc.                 Attn.: Sue Tamm
       Attn.: Sue Tamm                        Phone: (856) 491‐0197 / (856) 241‐9090           Trade
       1155 Commerce Boulevard                E‐mail: stamm@albertsfreshproduce.com                                                                                $637,273.84
                                                                                              Vendor
       Logan Township, New Jersey 08085               aoer@albertsorganics.com




Official Form 204                                 List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                        Page 1



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                 20-10161-jlg                Doc 1   Filed 01/23/20              Entered 01/23/20 00:51:39                        Main Document
Debtor       Fairway Group Holdings Corp.
                                                                                Pg 16 of 22 Case number (if known)
             Name


 Name of creditor and complete mailing           Name, telephone number, and email            Nature of the      Indicate if   Amount of unsecured claim
 address, including zip code                     address of creditor contact                    claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                                 example,       contingent,    unsecured claim amount. If claim is partially
                                                                                               trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                               bank loans,      or disputed    for value of collateral or setoff to calculate
                                                                                              professional                     unsecured claim.
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                                  partially          value of          claim
                                                                                                                                  secured          collateral or
                                                                                                                                                      setoff
 8.      US Foodservice, Inc.                    Attn.: Hank Smith
         Attn.: Hank Smith                       Phone: (516) 993‐9946 / (800) 222‐1278
                                                                                                  Trade
         1051 Amboy Avenue                       E‐mail: hank.smith@usfoods.com                                                                                      $570,057.58
                                                                                                 Vendor
         Perth Amboy, New Jersey 08861                   nymarreequests@usfoods.com
                                                         andy.rainone@usfoods.com
 9.      S. Katzman Produce Inc.                 Attn.: Mario Andreani
         Attn.: Mario Andreani                   Phone: (516) 805‐5804 / (718) 991‐4700
                                                                                                  Trade
         213 NYC Terminal Market                 E‐mail: mandreani@katzmanproduce.com                                                                                $562,898.99
                                                                                                 Vendor
         Bronx, New York 10474                   accountsreceivable@katzmanproduce.com
                                                 accountsreceivable@katzmanberry.com
 10.     J & J Farms Creamery Co., Inc.          Attn.: Morris Glauber
         Attn.: Morris Glauber                   Phone: (718) 490‐7236 / (718) 821‐1200           Trade
         57‐48 49th Street                       E‐mail: morris@jj‐farms.com                                                                                         $476,156.13
                                                                                                 Vendor
         Maspeth, New York 11378                         abek@jj‐farms.com

 11.     Manetto Hills Associates 116, LLC       Attn.: Barbara Briamonte
         Attn.: Barbara Briamonte                Phone: (516) 869‐7157
         500 North Broadway, Suite 201           E‐mail: bbriamonte@kimcorealty.com               Rent                                                               $444,560.96
         P.O. Box 9010
         Jericho, New York 11753
 12.     Bunzl Distribution Northeast, LLC       Attn.: Dave Maszezak
         Attn.: Dave Maszezak                    Phone: (732) 821‐7000                            Trade
         27 Distribution Way                     E‐mail: dave.maszezak@bunzlusa.com                                                                                  $394,115.10
                                                                                                 Vendor
         Monmouth, New Jersey 08852

 13.     Oxford Health Insurance, Inc.           Attn.: Lisa D. Coleman
         Attn.: Lisa D. Coleman                  Phone: (212) 912‐4016
         One Penn Plaza, 8th Floor               E‐mail: lcoleman@uhc.com                       Insurance                                                            $345,944.99
         New York, New York 10119

 14.     Dora’s Natural, Inc.                    Attn.: Cyrus Schwartz
         Attn.: Cyrus Schwartz                   Phone: (201) 229‐0500                            Trade
         21 Empire Boulevard                     E‐mail: cyruss@dorasnaturals.com                                                                                    $323,663.14
                                                                                                 Vendor
         South Hackensack, New Jersey 07606              melissah@dorsnaturals.com

 15.     Red Hook Green Power, LLC               Attn.: Leila Zubi
         c/o The O’Connell Organization          Phone: (212) 202‐0954
         Attn.: Leila Zubi                       E‐mail: lzubi@zubirosner.com                    Utility         Disputed                                            $322,099.38
         175 Van Dyke Street, Suite 322A
         Brooklyn, New York 11231
 16.     Seven Yale & Towne, LLC                 Attn.: David Fife
         c/o Building and Land Technology        Phone: (203) 644‐1526
         Attn.: David Fife                       E‐mail: dfwaters@bltoffice.com                   Rent                                                               $301,745.66
         1 Elmcroft Road, Suite 500
         Hartford, Connecticut 06103‐3494
 17.     229 West 74th Street Corp.              Attn.: Lucius Palmer
         c/o Mt. Pleasant Management Corp.       Phone: (212) 570‐2030
         Attn.: Lucius Palmer                    E‐mail: lpalmer@thebeekmanestate.com             Rent                                                               $291,160.12
         855 Lexington Avenue
         New York, New York 10065
 18.     Austin Meat & Seafood Company           Attn.: Mike Johnson
         Attn.: Mike Johnson                            Joel Wartell
                Joel Wartell                            Liz Ponce
                Liz Ponce                        Phone: (718) 842‐6767                            Trade
                                                                                                                                                                     $263,721.58
         355 Food Center Drive                   E‐mail: mike.johnson@austinmeat.com             Vendor
         Hunts Point Co‐Op Market                         joel.wartell@austinmeat.com
         Building A‐14                                    liz.ponce@austinmeat.com
         Bronx, New York 10474


Official Form 204                                    List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                      Page 2



WEIL:\97340867\6\44444.0008
                 20-10161-jlg                 Doc 1   Filed 01/23/20             Entered 01/23/20 00:51:39                         Main Document
Debtor       Fairway Group Holdings Corp.
                                                                                Pg 17 of 22 Case number (if known)
             Name


 Name of creditor and complete mailing            Name, telephone number, and email            Nature of the      Indicate if   Amount of unsecured claim
 address, including zip code                      address of creditor contact                    claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                                  example,       contingent,    unsecured claim amount. If claim is partially
                                                                                                trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                                bank loans,      or disputed    for value of collateral or setoff to calculate
                                                                                               professional                     unsecured claim.
                                                                                               services, and
                                                                                               government
                                                                                                 contracts)
                                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                                   partially          value of          claim
                                                                                                                                   secured          collateral or
                                                                                                                                                       setoff
 19.     Donald Myers Produce, Inc.               Attn.: Donald Myer
         Attn.: Donald Myer                       Phone: (856) 692‐4084                            Trade
         1088 North Main Road                     E‐mail: dmyersproduce@comcast.net                                                                                   $259,189.55
                                                                                                  Vendor
         Vineland, New Jersey 08360                       fmartine07@gmail.com

 20.     Blue Ribbon Fish Co., Inc.               Attn.: David Samuels
         Attn.: David Samuels                     Phone: (718) 620‐8580                            Trade
         800 Food Center Drive, Unit 67           Email: david.blueribbon@gmail.com                                                                                   $242,321.42
                                                                                                  Vendor
         Bronx, New York 10474

 21.     Cedro Bananas Wholesale Distributor      Attn.: William Mascari
         Attn.: William Mascari                   Phone: (203) 996‐9454 / (203) 469‐9366           Trade
         99 Laura Street                          E‐mail: billy@cedrobananas.com                                                                                      $229,777.05
                                                                                                  Vendor
         New Haven, Connecticut 06512                     lucy@cedrobanans.com

 22.     Mama Mia Produce LLC                     Attn.: Shimon Efergan
         Attn.: Shimon Efergan                    Phone: (917) 686‐7061 / (973) 773‐9494
                                                                                                   Trade
         P.O. Box 505                             E‐mail: e.shimon@mamamiaproduce.com                                                                                 $229,520.50
                                                                                                  Vendor
         East Rutherford, New Jersey 07073               f.olubunmi@mamamiaproduce.com
                                                           ar@mamamiaproduce.com
 23.     Post Road Plaza Leasehold LLC            Attn.: Robert Carson
         c/o Levin Management Corp.               Phone: (908) 755‐7489
         Attn.: Robert Carson                     E‐mail: ach‐receipts@levinmgt.com                Rent                                                               $228,514.38
         975 US Highway 22 West                            brand@levinmgt.com
         North Plainfield, New Jersey 07060
 24.     M B Food Processing Inc.                 Attn.: Dean Koplik
         Attn.: Dean Koplik                       Phone: (845) 434‐5051 (Ext. 16)                  Trade
         4 Trolley Road                           E‐mail: deank@murrayschicken.com                                                                                    $213,402.11
                                                                                                  Vendor
         South Fallsburg, New York 12779

 25.     Wonderful Citrus Cooperative             Attn.: James Lopez
         Attn.: James Lopez                       Phone: (856) 603‐2200 / (661) 720‐2452           Trade
         1901 South Lexington Street              E‐mail: james.lopez@wonderful.com                                                                                   $207,154.50
                                                                                                  Vendor
         Delano, California 93215

 26.     Imperial Bag & Paper Co. LLC             Attn.: Jeff Burdick
         d/b/a Imperial Dade                      Phone: (201) 437‐7440 (Ext. 3160)
                                                                                                   Trade
         Attn.: Jeff Burdick                      E‐mail: cmerced@imperialdade.com                                                                                    $198,341.08
                                                                                                  Vendor
         255 Route 1&9                                     fgold@imperialbag.com
         Jersey City, New Jersey 07306
 27.     DHH Company LLC                          Attn.: Howard Glickberg
         c/o Paverman & Paverman CPA PC                  Veronica Paverman
         Attn.: Howard Glickberg                  Phone: (917) 709‐3492 / (914) 633‐6920
                                                                                                   Rent                                                               $180,492.41
                Veronica Paverman                 E‐mail: fishatuna@aol.com
         2525 Palmer Avenue                               vpaverman@pavermancpa.com
         New Rochelle, New York 10801
 28.     Liberty Coca‐Cola Beverages LLC          Attn.: Roseann Messano
         Attn.: Roseann Messano                   Phone: (201) 838‐6327
         725 East Erie Avenue                     E‐mail: messano@libertycoke.com                  Trade
                                                                                                                                                                      $180,458.60
         Philadelphia, Pennsylvania 19134                 libertycashapp@coca‐cola.com            Vendor
                                                          hleal@coke‐bsna.com
                                                          ccosme@coke‐bsna.com
 29.     Red Hook Stores, LLC                     Attn.: Greg O’Connell
         Attn: Greg O'Connell                     Phone: (718) 624‐0160
         175 Van Dyke Street, Suite 322A          E‐mail: greg@redhookwaterfront.com               Rent                                                               $171,908.46
         Brooklyn, New York 11231




Official Form 204                                     List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                      Page 3



WEIL:\97340867\6\44444.0008
                 20-10161-jlg               Doc 1    Filed 01/23/20             Entered 01/23/20 00:51:39                         Main Document
Debtor       Fairway Group Holdings Corp.
                                                                               Pg 18 of 22 Case number (if known)
             Name


 Name of creditor and complete mailing           Name, telephone number, and email            Nature of the      Indicate if   Amount of unsecured claim
 address, including zip code                     address of creditor contact                    claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                                 example,       contingent,    unsecured claim amount. If claim is partially
                                                                                               trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                               bank loans,      or disputed    for value of collateral or setoff to calculate
                                                                                              professional                     unsecured claim.
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                                  partially          value of          claim
                                                                                                                                  secured          collateral or
                                                                                                                                                      setoff
 30.     XPO Courier, LLC                        Attn.: Ralph Whitty
         d/b/a XPO Logistics                            Arthur Lagrega
         Attn.: Ralph Whitty                     Phone: (646) 454‐3877 / (646) 454‐3855           Trade
                                                                                                                                                                     $171,179.85
                Arthur Lagrega                   E‐mail: ralph.whitty@xpo.com                    Vendor
         229 West 36th Street                            arthur.largrega@xpo.com
         New York, New York 10018
 31.     Giorgio Fresh Co.                       Attn.: Legal Department
         Attn.: Legal Department                 Phone: (610) 926‐2800 (Ext. 8375)                Trade
         P.O. Box 8500‐52948                     Email: gfccustomersvc@giorgiofoods.com                                                                              $161,227.06
                                                                                                 Vendor
         Philadelphia, Pennsylvania 19179‐2948

 32.     Valesco Trading                         Attn.: Al Sozer
         Attn.: Al Sozer                         Phone: (646) 338‐5604 / (201) 729‐1414           Trade
         60 Saddle River Avenue, Unit D          E‐mail: aos@valescofoods.com                                                                                        $159,027.53
                                                                                                 Vendor
         South Hackensack, New Jersey 07606

 33.     2328 on Twelfth, LLC                    Attn.: Howard Glickberg
         c/o Paverman & Paverman CPA PC                 Veronica Paverman
         Attn.: Howard Glickberg                 Phone: (917) 709‐3492 / (914) 663‐6920
                                                                                                  Rent                                                               $158,381.83
                Veronica Paverman                E‐mail: fishatuna@aol.com
         2525 Palmer Avenue                              vpaverman@pavermancpa.com
         New Rochelle, New York 10801
 34.     Levco Route 46 Associates               Attn.: Michael Mandelbaum
         c/o Mandelbaum                          Phone: (973) 325‐0011
         Attn.: Michael Mandelbaum               E‐mail: michaelm@mandelbaumfirm.com              Rent                                                               $157,952.65
         80 Main Street, Suite 510
         West Orange, New Jersey 07502
 35.     Nestle Waters North America Inc.        Attn.: Jim Gorman
         Attn.: Jim Gorman                       Phone: (516) 317‐0216                            Trade
         2 Van Riper Road                                 (203) 629‐7489                                                                                             $153,680.15
                                                                                                 Vendor
         Montvale, New Jersey 07645              E‐mail: jgorman@esmferolie.com

 36.     Calavo Growers Inc.                     Attn.: Richard Joyal
         Attn.: Richard Joyal                    Phone: (805) 921‐3213                            Trade
         1141A Cummings Road                     Email: rickj@calavo.com                                                                                             $153,671.75
                                                                                                 Vendor
         Santa Paula, California 93060

 37.     Georgetowne Center Brooklyn LLC         Attn.: Marc Geller
         c/o Sholom & Zuckerbrot Realty LLC      Phone: (718) 392‐5959
         Attn.: Marc Geller                      E‐mail: mgeller@s‐z.com                          Rent                                                               $150,440.46
         35‐11 35th Avenue
         Long Island, New York 11106
 38.     Cibo Vita Inc.                          Attn.: Emre Imamoglu
         Attn: Emre Imamoglu                     Phone: (862) 238‐8020                            Trade
         12 Vreeland Avenue                      Email: emre@cibovita.com                                                                                            $143,595.14
                                                                                                 Vendor
         Totowa, New Jersey 07512

 39.     World's Best Cheeses, Inc.              Attn.: Legal Department
         Attn: Legal Department                  Phone: (800) 922‐4337                            Trade
         111 Business Park Drive                 Email: kathy@wbcheese.com                                                                                           $140,975.92
                                                                                                 Vendor
         Armonk, New York 10504

 40.     Adams Apple Fruits and Vegetables LLC   Attn.: Avi Sharon
         Attn: Avi Sharon                        Phone: (917) 559‐5584                            Trade
         1071 Duston Road                        Email: adamsapplellc@gmail.com                                                                                      $139,404.20
                                                                                                 Vendor
         Valley Stream, New York 11581




Official Form 204                                    List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                      Page 4



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Fill in this information to identify the case:

Debtor name: Fairway Group Holdings Corp.
United States Bankruptcy Court for the Southern District of New York
                                             (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
    correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    ☐       Other document that requires a declaration _____________

    I declare under penalty of perjury that the foregoing is true and correct.



    Executed on January 23, 2020
                                                        /s/ Abel Porter
                                                         Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                         Abel Porter
                                                         Printed name

                                                         Chief Executive Officer
                                                         Position or relationship to debtor




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Fill in this information to identify the case:

Debtor name: Fairway Group Holdings Corp.
United States Bankruptcy Court for the Southern District of New York
                                             (State)
Case number (If known):




                                           LIST OF EQUITY HOLDERS1

                    Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address or Place of                               Kind/Class of     Number of
                Business of Holder                                           Interest      Interests Held
         Brigade Capital Management, LP
                 399 Park Avenue                                                Equity        33.628%
               New York, NY 10022
      Goldman Sachs Special Situations Group
                  200 West Street                                               Equity        29.946%
               New York, NY 10282
              FS KKR Capital Corp.
               201 Rouse Boulevard                                              Equity        22.147%
              Philadelphia, PA 19112
           MJX Asset Management LLC
             12 E 49th Street, Suite 41                                         Equity         5.092%
               New York, NY 10017




1
 This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Cases.

                                                       List of Equity Holders                                      1


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    Name and Last Known Address or Place of                    Kind/Class of     Number of
                Business of Holder                               Interest      Interests Held
       Seaport Group Baseball Cards, LLC
        360 Madison Avenue, 20th Floor                              Equity        2.945%
              New York, NY 10017
            Lord, Abbett & Co. LLC
                 90 Hudson Street                                   Equity        2.635%
              Jersey City, NJ 07302
                WhiteHorse Capital
                Whitehorse IV Ltd.
               c/o Nate Stinchcomb                                  Equity        1.405%
         200 Crescent Court, Suite 1414
                 Dallas, TX 75201
        Napier Park Global Capital US LP
           280 Park Avenue, 3rd Floor                               Equity        0.703%
              New York, NY 10017
         Seix Investment Advisors LLC
          1 Maynard Drive, Suite 3200                               Equity        0.528%
              Park Ridge, NJ 07656
        Westgate Horizon Advisors LLC
          633 W 5th Street, Suite 6600                              Equity        0.516%
             Los Angeles, CA 90071
               Jeffries Finance LLC
              c/o J. Paul McDonnell
                                                                    Equity        0.454%
         52 Madison Avenue, 16th Floor
              New York, NY 10010




                                           List of Equity Holders                               2

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United States Bankruptcy Court for the Southern District of New York
                                             (State)
Case number (If known):




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 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


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and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
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             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
    correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
    ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration List of Equity Holders

    I declare under penalty of perjury that the foregoing is true and correct.



    Executed on January 23, 2020
                                                        /s/ Abel Porter
                                                         Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                         Abel Porter
                                                         Printed name

                                                         Chief Executive Officer
                                                         Position or relationship to debtor




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